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 9                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ARIZONA
10
11   State of Arizona,
                                                     Case No. 2:24-cv-00355-PHX-GMS
12             Plaintiff,
                                                     UNITED STATES’ MOTION TO
13             v.                                    DISMISS AND MEMORANDUM
                                                     OF POINTS AND AUTHORITIES
14   United States Internal Revenue Service;         IN SUPPORT
     Daniel I. Werfel, in his official capacity as
15   Commissioner of the United States Internal
     Revenue Service; the United States
16   Department of Treasury; Janet L. Yellen, in
     her official capacity as Secretary of the
17   United States Department of Treasury; and
     the United States of America,
18
             Defendants.
19   ____________________________________
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 1          The United States of America, pursuant to Fed. R. Civ. P. 12(b), moves to dismiss
 2 the State of Arizona’s complaint with prejudice.
 3                                    I.     INTRODUCTION
 4          By its complaint, Arizona seeks injunctive, declaratory, and monetary relief from
 5 the IRS’s advised tax treatment of payments Arizona made to its residents in 2023. The
 6 Court has already considered whether it has the requisite subject-matter jurisdiction to
 7 hear this case and correctly concluded that it is unlikely that it does. ECF No. 29 (Order).
 8 Not only is the Court’s initial conclusion correct, but there are also multiple other reasons
 9 dismissal is the right result. Arizona has failed to establish standing to sue. Arizona has
10 also failed to establish a waiver of sovereign immunity. The complaint violates the Anti-
11 Injunction Act (“AIA”) and the Declaratory Judgment Act (“DJA”), which broadly
12 prohibit suits seeking injunctive and declaratory relief from the application of federal tax
13 laws. Even if the Court had jurisdiction to hear the case, Arizona’s complaint fails to state
14 a claim upon which relief can be granted because the payments it made to its residents are
15 includable in income and do not qualify for any special exclusion from income. These
16 defects are not curable, so Arizona’s complaint should be dismissed with prejudice. 1
17                              II.        STATEMENT OF FACTS
18          Arizona alleges that because of a budget surplus, it made one-time payments in
19   2023 to its taxpayers who had dependents, met the income threshold to claim the Arizona
20   Dependent Tax Credit, had a state tax liability of at least $1 in 2019, 2020, or 2021, and
21   claimed at least one dependent in 2021. ECF No. 1 (Complaint), ¶¶ 2, 29. The payment
22   amount was $250 for each dependent under age 17 and $100 for dependents over 17 and
23   was capped at $750 per taxpayer and other than the nominal $1 threshold requirement,
24   was not tied to the amount of state taxes paid. Id. ¶ 30. The payments were income
25   limited: eligibility for the payments phased out at $400,000 for married taxpayers filing
26
27
    In compliance with LRCiv 12.1(c), the parties met and conferred by telephone on April.
     1

28 10, 2024, and were unable to agree that the complaint was curable in any part by a
   permissible amendment offered by Arizona.
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 1   jointly and $200,000 for all other filers. ECF No. 18-1, Ex. 12. 2 These amounts exceed
 2 the “median adjusted gross income (‘AGI’) for Arizona filers ($30,000 single, $94,000
 3 married filing jointly for 2021) … [and] 98% of Arizona single filers had AGI below
 4 $200,000 and 95% of married joint filers had AGI below $400,000 in 2021.” Id. “Arizona
 5 residents that had no tax liability in 2019-2021 were not eligible to receive a payment.”
 6 Id. The stated purpose for the payments was that “[i]nflation is at a forty-year high,
 7 putting gas, groceries and other necessities out of reach for many Arizonans. . . .
 8 Responsible budgeting [] allowed th[e] state to take action to mitigate the harmful
 9 impacts of inflation by returning a portion of the surplus to this state’s taxpayers with
10 dependents.” Complaint ¶ 33.
11          Arizona acknowledges that in August 2023 (after enacting the legislation that
12 authorized the payments but before the payments were made), the IRS issued Notice
13 2023-56 which described the rules “the IRS applies in determining the federal income tax
14 consequences of refunds of State or local taxes and certain other payments made by State
15 or local governments . . . to individuals.” Id. ¶ 36. Arizona admits that the Notice stated
16   that previous permissive guidance given to other states about payments made in 2022
17   applied only to payments made in 2022. Id. ¶ 40.
18          Even so, Arizona sought the IRS’s advice on the federal tax treatment of its
19 payment and in December 2023 was advised that the IRS considered the payment
20 “federally taxable in full.” Id. ¶ 58. Arizona made Forms 1099 available to Arizona
21 taxpayers who received a payment. Id. ¶ 61.
22          Arizona now seeks injunctive and declaratory relief to stop the IRS from enforcing
23 its position that the payments are includible in taxpayer income and subject to federal
24 income tax. Id. at p. 19. Arizona also seeks refunds of the taxes paid on the payments on
25 behalf of its taxpayers. Id.
26
     The United States incorporates the facts and evidence submitted by the parties related to
     2

27 the motion for preliminary injunction (ECF Nos. 18, 24, 27) and the findings in the
   Court’s Order (ECF No. 29) denying that motion. Courts can consider extrinsic evidence
28 in determining whether jurisdiction supports hearing a case. See Roberts v. Corrothers,
   812 F.2d 1173, 1777 (9th Cir. 1987).
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 1          Jurisdiction is alleged under 28 U.S.C. §§ 1331 and 1340. Id. ¶ 9. Arizona states
 2 five counts: the first two for violations of 26 U.S.C. § 61 (which defines “Gross
 3   Income”), two others for violations of Congress’ taxing power and equal sovereignty, and
 4   the final count for violation of 5 U.S.C. § 706. Id. ¶¶ 90-122. Arizona alleges that the
 5   IRS’s advised tax treatment has caused it substantial and ongoing harm. Id. ¶¶ 100, 106,
 6   113, 118, 122.
 7          Arizona identifies three alleged harms. The first alleged harm is a loss of
 8   “approximately $480,000 in State and local transaction privilege tax revenue that would
 9   have been derived from taxpayers’ spending.” Id. ¶ 77. Arizona does not explain how it
10   determined this number but does allege that had the recipients not paid federal tax on the
11   payment, they would have: spent the federal tax amount as they saw fit (¶ 75); spent a
12   significant portion on goods and services subject to Arizona’s transaction privilege taxes
13   (¶ 76); used the amount to pay property, licensing, and other taxes in Arizona (¶ 76): and
14   spent generally “in a manner that promoted Arizona’s economy and their own
15   wellbeing.” Id. ¶ 78. Arizona does not explain how it determined these results would
16   have occurred but for the payment of federal income tax. Arizona’s second alleged harm
17   is that it had to provide Forms 1099 to its taxpayers who received a payment. Id. ¶ 79.
18   Arizona’s third alleged harm is to its equal sovereignty. Id. ¶¶ 114-118.
19                                   III. ARGUMENT
20          A.    This action should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1)
            because Arizona has failed to establish subject-matter jurisdiction.
21          This action should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1) because the
22   Court lacks subject-matter jurisdiction. On a motion to dismiss pursuant to Fed. R. Civ.
23   P. 12(b)(1), the plaintiff bears the burden of establishing subject-matter jurisdiction and
24   asserting a waiver of sovereign immunity. Yet Arizona’s complaint fails to establish
25   standing or assert any such waiver of sovereign immunity by the United States. Arizona
26   has thus failed to satisfy the requirements necessary to meet its burden of showing that
27   the Court may exercise subject-matter jurisdiction over the complaint. See United States
28   v. Testan, 424 U.S. 392, 399 (1976).

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 1                 1.     Arizona lacks standing.
 2          A plaintiff must have “a personal stake in the outcome of the controversy’ [so] as
 3 to warrant his invocation of federal-court jurisdiction.” Warth v. Seldin, 422 U.S. 490,
 4 498 (1975). At its “irreducible constitutional minimum,” Article III standing requires a
 5 plaintiff, as the party invoking the Court’s jurisdiction, to establish: (1) a concrete and
 6 particularized injury-in-fact, either actual or imminent; (2) a causal connection between
 7 the injury and defendant’s challenged conduct, such that the injury is “fairly traceable to
 8 the challenged action of the defendant”; and (3) a likelihood that the injury suffered will
 9 be “redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555,
10 560-61 (1992). “At the pleading stage, general factual allegations of injury resulting from
11 the defendant’s conduct may suffice,” id. at 504 U.S. at 561, but “a plaintiff cannot rely
12 solely on conclusory allegations of injury.” Baur v. Veneman, 352 F.3d 625, 637 (2d Cir.
13 2003); see Schmier v. United States, 279 F.3d 817, 826 (9th Cir. 2002) (rejecting
14 conclusory allegations).
15          Arizona has not met its burden. It challenges the IRS’s administrative position that
16 the 2023 payments Arizona made are includable in the recipients’ income and thus may
17 result in federal income tax liability. But recognizing that it cannot mount that challenge
18 directly, it claims injury by the IRS because it may have lost $480,000 in sales tax
19 revenue and it made available Forms 1099 to affected taxpayers. Complaint ¶¶ 77, 79.
20 Neither of these harms is enough to confer standing as the Court has already correctly
21 concluded. Order at 6-7.
22          To begin, states may sue the federal government only to vindicate their sovereign
23 or quasi-sovereign interests, not to litigate the personal claims of their taxpayers. See,
24 e.g., Maryland v. Louisiana, 451 U.S. 725, 737 (1981) (a state cannot interject itself into
25 a controversy “as a nominal party in order to forward the claims of individual citizens”);
26 Pennsylvania v. New Jersey, 426 U.S. 660, 665 (1976) (it has “become settled doctrine
27 that a State has standing to sue only when its sovereign or quasi-sovereign interests are
28 implicated and it is not merely litigating as a volunteer [for] the personal claims of its

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 1   citizens”). Therefore, Arizona may not predicate standing on its residents’ alleged
 2   increased federal tax liability.
 3          The complaint does not sufficiently allege that the IRS’s suggested tax treatment
 4   will cause Arizona to suffer “a direct injury in the form of a loss of specific tax
 5   revenues.” Wyoming v. Oklahoma, 502 U.S. 437, 448 (1992) (considering the alleged loss
 6   of severance tax revenues linked to coal extraction and sale). The Court already correctly
 7   concluded that Arizona’s “alleged loss of transaction privilege taxes flows directly from
 8   the tax treatment of its taxpayers and is wholly derivative of its taxpayer’s injuries.”
 9   Order at 6:24-7:1. The Court’s conclusion is consistent with other authority finding that a
10   speculative decline in general tax revenues is not an adequate injury-in-fact. See Florida
11   v. Mellon, 273 U.S. 12, 17-18 (1927) (rejecting Florida’s claim of direct injury predicated
12   on anticipated loss of tax revenue attributable to residents leaving the state because of the
13   new federal inheritance tax). Even if Arizona could show a decline in revenue, it was
14   self-inflicted because Arizona’s legislature chose a form of payment that didn’t satisfy
15   longstanding principles for exclusion from income. Self-inflicted harms to the state fisc
16   cannot confer standing. Pennsylvania, 426 U.S. at 664.
17          Any reliance on the Second Circuit’s decision in New York v. Yellen, 15 F.4th 569,
18   576-77 (2d Cir. 2021) is misplaced. There the plaintiff states alleged a direct injury to
19   their taxing authority separate from the higher taxes their residents would pay because
20   Congress decreased the deduction for state and local taxes. Arizona has only alleged an
21   injury derivative of its residents paying higher taxes because of Arizona’s choices about
22   how to design its “rebate” program. But if this is a sufficient injury for a state to allege
23   for standing purposes, then each year any state could manufacture standing to challenge
24   any IRS position that resulted in its residents paying higher taxes. This result would
25   upend tax procedure and render Article III’s injury requirement meaningless.
26          And Arizona has offered the Court only a bare and speculative estimate of
27   $480,000 in lost sales tax revenue. Complaint ¶ 77. But such injury is purely conjectural
28   and hypothetical, unlike in New York where the plaintiff states provided robust expert

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 1   declarations with detailed analysis. Many factors affect whether Arizona taxpayers would
 2   pay federal income tax on the payments received. Those include, for example, whether:
 3   (1) they had sufficient income in 2023 to be subject to federal income tax, (2) they report
 4   the payments as income, (3) they have losses or credits that would offset any additional
 5   tax attributable to treatment of the payments as income, and (4) the IRS pursues any
 6   adjustments if they do not report the payments as income. It is pure speculation to suggest
 7   any federal tax treatment would change how payment recipients spend money in Arizona.
 8          Arizona’s alleged loss of sales tax revenue cannot be causally connected to the
 9   IRS’s advice. To satisfy the causality element for Article III standing, Arizona must show
10   that its injury is causally linked or “fairly traceable” to the IRS’s administrative position.
11   Washington Env’t. Council v. Bellon, 732 F.3d 1131, 1141-42 (9th Cir. 2013). Arizona’s
12   complaint suggests a direct link from the amount of tax paid to the amount of tax revenue
13   Arizona allegedly lost. But such a dollar-for-dollar analysis is oversimplistic. As
14   described, many factors affect whether Arizona taxpayers would pay federal income tax
15   on the payments received. And Arizona has not alleged that it took any of those factors
16   into consideration in determining its “loss.”
17          Arizona not only cannot establish a loss of sales tax revenue traceable to the IRS’s
18   conduct, but it also cannot establish any injury redressable by the Court. “Redressability
19   asks whether the district court had the power to prevent the injury at the time the
20   complaint was filed.” Tucson v. City of Seattle, 91 F.4th 1318, 1325 (9th Cir. 2024). Even
21   if the IRS were to change its position and declare that it would not challenge exclusion of
22   the payments from income, that doesn’t guarantee the payment recipients will spend
23   more money in Arizona. Arizona’s standing theory requires too much guesswork for how
24   independent decision makers will exercise their judgment.
25          So too Arizona’s complaints about issuing Forms 1099. First, that has already
26   happened, and there is no undoing it. Moreover, as the Court correctly concluded, the
27   obligation to make available Forms 1099-MISC to the recipients of payments of $600 or
28   more followed from the application of 26 U.S.C.§ 6041(a) and Treas. Reg. § 1.6041-

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 1   1(b)(1) and (i) and did not result solely from the IRS’s administrative position. Order at
 2   7:11-13. If the payments Arizona made were, as it contends, refunds of state taxes paid
 3   and were $10 or more, then it would have had to report those payments to the IRS and
 4   make Forms 1099 available to recipients who claimed itemized deductions. 26 U.S.C.
 5   § 6050E. Those forms would have just been Forms 1099-G instead of Forms 1099-MISC.
 6   Instead, based on the IRS advice to Arizona that its payments were not properly
 7   considered refunds of taxes paid, it needed to file and make available Forms 1099-MISC
 8   only for taxpayers who received $600 or more. 26 U.S.C. § 6041(a). Arizona had to
 9   generate Forms 1099 regardless of the IRS’s suggested tax treatment. And it had to
10   generate these forms because of a statutory reporting requirement, not because of the
11   advice it received.
12          Arizona’s allegations thus rely on an impermissible “highly attenuated chain of
13   possibilities” and fail to satisfy the Article III requirement of an injury to support
14   standing. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013).
15                 2.      Arizona has failed to establish a waiver of sovereign immunity.
16          The United States can be sued only if it waives its sovereign immunity. The
17   doctrine of sovereign immunity precludes suit against both federal agencies and their
18   employees, if acting in their official capacities. 3 Hodge v. Dalton, 107 F.3d 705, 707 (9th
19 Cir. 1997). Arizona alleges jurisdiction under 28 U.S.C.§§ 1331 and 1340. Complaint
20 ¶ 9. Although 28 U.S.C. § 1331 provides that “[t]he district courts shall have original
21 jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
22 United States,” and 28 U.S.C. § 1340 generally confers jurisdiction for matters arising
23   3
       The government officials Arizona has named as defendants are being sued in connection
24   with doing their jobs, and as such, the suit against the Commissioner of Internal Revenue
     Daniel Werfel and the Secretary of the Treasury Janet Yellen must be dismissed.
25   Arizona’s suit against Commissioner Werfel and Secretary Yellen is based solely on their
     official capacities and, as such, is a suit against the United States. There is no suggestion
26   in Arizona’s complaint that Commissioner Werfel or Secretary Yellen acted outside the
     scope of their employment or otherwise outside of their official capacities. Indeed, the
27   complaint only references Commissioner Werfel and Secretary Yellen in the caption and
     then identifies them as parties (in their official capacities); it contains no allegations at all
28   regarding any specific actions by either. Complaint ¶¶ 12, 14.

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 1   under the internal revenue laws, the United States has not waived its sovereign immunity
 2   through general jurisdictional statutes. See Hughes v. United States, 953 F.2d 531, 539
 3   n.5 (9th Cir. 1992) (neither 28 U.S.C. §§ 1331 nor 1340 nor 1343 waives sovereign
 4   immunity); see also Dunn & Black, P.S. v. United States, 492 F.3d 1084, 1088 n.3 (9th
 5   Cir. 2007); Arford v. United States, 934 F.2d 229, 231 (9th Cir. 1991); De Masters v.
 6   Arend, 313 F.2d 79, 84 (9th Cir. 1963). Arizona has expressly alleged two causes of
 7   action under § 61. Its third and fourth causes of action allege violations of Congress’
 8   Taxing Power and Arizona’s equal sovereignty, but the allegations for both read in
 9   substance as challenges to income determinations under § 61. Section 61, however, does
10   not provide a cause of action and certainly does not provide a waiver of sovereign
11   immunity. Cf. McMaster v. Coca-Cola Bottling Co. of California, 392 F. Supp. 2d 1107,
12   1112 (N.D. Cal. 2005). Finally, although 5 U.S.C. § 702 can serve generally as a waiver
13   for Administrative Procedure Act (“APA”) claims in some cases, it does not in this case,
14   for the reasons discussed below.
15                 3.     There is no waiver of sovereign immunity under the APA.
16          Arizona seeks injunctive, declaratory, and monetary relief under the APA, but the
17   APA does not provide an avenue for relief, and sovereign immunity is not waived, where:
18   (1) statutes preclude judicial review; or (2) agency action is committed to agency
19   discretion by law. 5 U.S.C. § 701(a). 4 In addition, the APA does not apply if the decision
20 under review is not made reviewable by statute and a “final agency action for which there
21 is no other adequate remedy in a court....” 5 U.S.C. § 704; Gallo Cattle Co. v. U.S. Dep’t
22 of Agric., 159 F.3d 1194, 1198 (9th Cir. 1998). Two conditions must be satisfied for an
23 agency action to be final. First, the action must mark the consummation of the agency’s
24
25   Arizona did not allege but may argue that a waiver of sovereign immunity is found
     4

   under 5 U.S.C. § 702. The Ninth Circuit has read § 702 to provide a waiver for claims
26 that do not arise under the APA and are non-monetary. Navajo Nation v. Dep’t of the
   Interior, 876 F.3d 1144, 1172 (9th Cir. 2012). Because Arizona is seeking refunds of
27 taxes paid on behalf of its taxpayers, that claim is monetary and § 702 does not waive the
   United States’ sovereign immunity. King Mountain Tobacco Comp. Inc., v. Alcohol and
28 Tobacco Tax and Trade Bureau, No. CV-11-3038, 2012 WL 12951864, at *3 (E.D.
   Wash. Sept. 24, 2012).
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 1   decision-making process. And second, the action must be one by which rights or
 2   obligations have been determined, or from which legal consequences will flow. See
 3   Gallo, 159 F.3d at 1198–99; Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (overruled on
 4   other grounds). Thus, even an “ultimate administrative position” is not final for purposes
 5   of the APA unless it is one “by which ‘rights or obligations have been determined.’”
 6   Fairbanks N. Star Borough v. United States Army Corps of Engineers, 543 F.3d 586, 591,
 7   593 (9th Cir. 2008) (quoting Bennett, 520 U.S. at 178) (dismissing a claim challenging
 8   agency action because it was not “final” on that standard). The IRS advice that the
 9   payments here should be included in federal income was not a final agency action. That
10   advice is just the IRS’s administrative position about the tax treatment of the payments
11   Arizona made. It does not determine any of Arizona’s rights or obligations. It also has no
12   legal consequence for the recipients of payments who are free to take a different position
13   on their tax return and obtain a determination through the IRS examination process and
14   administrative appeals process, and ultimately from a court. Accordingly, the IRS’s
15   administrative position is not final agency action.
16          “Even if final, agency action is reviewable under the APA only if there are no
17   adequate alternatives to APA review in court.” U.S. Army Corps of Engineers v. Hawkes
18   Co., 578 U.S. 590, 600 (2016); 5 U.S.C. § 704. Here, the tax consequence of a taxpayer
19   including (or not including) the amount of the payment received in income will be
20   determined via their 2023 tax return. Taxpayers may omit the payment and defend the
21   omission in the Tax Court or report the payment and “bring an action against the
22   Government either in United States district court or in the United States Court of Federal
23   Claims,” provided they “comply with the tax refund scheme established in the Code.”
24   Clintwood Elkhorn Mining Co., 553 U.S. 1, 4-5 (2008) (referencing 28 U.S.C.
25   § 1346(a)(1), 26 U.S.C. § 7422, and the jurisdictional prerequisite for such a suit.). The
26   IRS’s administrative position is not a final agency action for which there is no adequate
27   remedy because Arizona taxpayers can sue to challenge the IRS’s position.
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 1                 4.     The AIA and DJA bar Arizona’s complaint.
 2          Even if Arizona has standing to sue and the APA provided an avenue for review,
 3   the Court still lacks jurisdiction because the complaint is barred by the AIA and the DJA.
 4   The AIA provides that “no suit for the purpose of restraining the assessment or collection
 5   of any tax shall be maintained in any court by any person, whether or not such person is
 6   the person against whom such tax was assessed.” 26 U.S.C. § 7421(a). “The manifest
 7   purpose of [the AIA] is to permit the United States to assess and collect taxes alleged to
 8   be due without judicial intervention, and to require that the legal right to the disputed
 9   sums be determined in a suit for refund.” Enochs v. Williams Packing & Navigation Co.,
10   370 U.S. 1, 7 (1962). If the AIA applies, federal courts lack jurisdiction. See id. at 5.
11          The DJA, 28 U.S.C. § 2201(a), bars declaratory relief related to federal taxes. As
12   the Supreme Court noted in Bob Jones Univ. v. Simon, 416 U.S. 725, 732 n.7 (1974), the
13   tax exception to the DJA demonstrates the “congressional antipathy for premature
14   interference with the assessment or collection of any federal tax.” The scope of the DJA
15   is at least as broad as that of the AIA. Id. The Supreme Court has interpreted the AIA and
16   DJA broadly, to protect the Treasury from suits seeking to interject the courts
17   prematurely into federal tax disputes. In doing so, the Court has confined tax litigation to
18   the precise channels prescribed by Congress, such as suits for refund, Bob Jones Univ.,
19   416 U.S. at 746, pre-assessment summons enforcement suits in federal district court, 26
20   U.S.C. § 7604, and pre-assessment Tax Court deficiency proceedings, 26 U.S.C.
21   § 6213(a).
22          Arizona seeks to restrain “the assessment or collection of [a] tax” by seeking to
23   “[e]njoin the IRS from enforcing its unlawful determination and to refund amounts that
24   have been unlawfully collected.” Complaint, Prayer for Relief at b. And states are among
25   the “persons” to which the AIA applies. See South Carolina v. Regan, 465 U.S. 367, 373-
26   81 (1984). Arizona’s complaint falls squarely within the AIA and DJA’s prohibitions. See
27   Bob Jones Univ., 416 U.S. at 738-39, 749.
28

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 1                 5.     No judicial exception to the AIA authorizes this suit.
 2                        a)      The Williams Packing exception does not apply.
 3          Courts have implied a narrow exception to the AIA under Williams Packing, 370
 4   U.S. 1, if two things can be shown: (1) that “under no circumstances” can the United
 5   States ultimately prevail on the merits of the case, and (2) that equity jurisdiction
 6   otherwise exists—that the taxpayer is threatened with irreparable harm and no adequate
 7   legal remedy is available. Williams Packing, 370 U.S. at 6-8; Elias v. Connett, 908 F.2d
 8   521, 525 (9th Cir. 1990). The AIA’s plain language and legislative purpose require strict
 9   construction of any judicially created exceptions. See Am. Bicycle Ass’n v. United States
10   (In re Am. Bicycle Ass’n), 895 F.2d 1277, 1281 (9th Cir. 1990).
11          “Under no circumstances” means that “under the most liberal view of the law and
12   the facts . . . the United States cannot establish its claim.” United States v. Am. Friends
13   Serv. Comm., 419 U.S. 7, 10 (1974). To rebut such a contention, the United States need
14   only show that it has a good faith basis for its position, not that it would necessarily
15   prevail. Elias, 908 F.2d at 525. It is not sufficient under Williams Packing for Arizona to
16   allege that it will win on the merits. Instead, it has a higher standard to meet—it must
17   allege that under no circumstances can it lose on the merits. Arizona has made no such
18   allegation in its complaint, nor can it. And, as discussed, taxpayers have adequate legal
19   remedies available to them to challenge the assessment and collection of any income tax,
20   precluding reliance on Williams Packing. E.g., Sokolow v. United States, 169 F.3d 663,
21   665 (9th Cir. 1999) (citations omitted).
22                        b)      The Regan exception does not apply.
23          Arizona also cannot invoke the second narrow judicially created exception to the
24   AIA. In South Carolina v. Regan, the Supreme Court considered a constitutional
25   challenge to a statute that eliminated a federal tax exemption for interest on unregistered
26   “bearer” bonds, restricting the exemption to bonds whose ownership was registered. 465
27   U.S. at 371. South Carolina asserted a sovereign interest in issuing bonds in the form of
28   its choice. Id. at 371-72. The Court held that the AIA did not bar South Carolina’s suit

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 1   (though it ultimately rejected the state’s claim on the merits) because applying the AIA
 2   would have risked precluding all judicial review of the statute. See id. at 373.
 3          This case is also different from Regan because the violation of a supposedly
 4 sovereign interest asserted by Arizona (speculative loss of sales tax revenue) is an alleged
 5 secondary consequence of the possible increase in some of its residents’ federal taxes. In
 6 contrast, the sovereign interest in Regan went to the state’s issuance of bonds in a form
 7 that would require the state to pay more. Simply put, Regan does not stand for the
 8 principle that a state can sue anytime its residents’ federal taxes increase. Sanctioning an
 9 AIA workaround in these circumstances would be anything but narrow and open the
10 floodgates to state-sponsored tax suits on their residents’ behalf.
11          Yet any Arizona taxpayers who include the payment in income and pay more
12 federal tax—unlike Arizona itself—have a direct economic interest in challenging the
13 IRS’s tax treatment. Unlike in Regan, Arizona need not struggle to “convince a taxpayer
14 to raise [its] claims,” nor can Arizona show such a challenge is a possibility so remote
15 that the tax treatment would remain unreviewed. Cf. Regan, 465 U.S. at 380-81. As the
16 Ninth Circuit ruled in similar circumstances:
17               [Regan’s] narrow exception is inapplicable here. Most
                 critically, in Regan, the state’s interest in issuing bonds in the
18               form it chose existed separately from the bondholders’
                 interest in avoiding taxation. A bondholder could avoid
19               taxation simply by purchasing registered bonds, and thus
                 would have little incentive to pay the tax, file a refund suit,
20               and raise the state’s constitutional claims. Therefore, the state
                 would be required to depend on the mere possibility of
21               persuading a third party bondholder to assert its claims. Here,
                 in contrast, the Yakama Nation’s asserted injury flows from
22               the taxation of its members, and thus is wholly derivative of
                 any injury suffered by [the members].
23 Confederated Tribes & Bands of Yakama Indian Nation v. Alcohol & Tobacco Tax &
24 Trade Bureau, 843 F.3d 810, 815 (9th Cir. 2016) (emphasis in original).
25          As this Court correctly concluded in denying the request for a preliminary
26 injunction, “Yakama Nation is difficult to fairly distinguish from the facts here.” Order at
27 6:10. Here, as in Yakama, the places of the state and the individual taxpayers are reversed
28 compared to Regan: the individual taxpayers are directly affected by a possible tax

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 1   treatment, while Arizona’s asserted sovereign interests are at best secondary or
 2   derivative. Similarly, Arizona’s desire for its residents to not pay federal income tax on
 3   its payments is duplicative of those residents’ own interests in minimizing their taxes
 4 through Congressionally approved channels. The AIA and DJA therefore bar this suit.
 5       B.    This action should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6)
         because Arizona has failed to state a claim upon which relief can be granted.
 6       A dismissal for failure to state a claim is appropriate where, as here, Arizona can
 7 prove no set of facts that would entitle it to relief because it fails to state a cognizable
 8 legal theory or fails to allege sufficient facts under a cognizable legal theory. See
 9 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001); Navarro v. Block,
10 250 F.3d 729, 732 (9th Cir. 2001). As the Supreme Court noted in Bell Atlantic Corp. v.
11 Twombly, to survive a motion to dismiss, “[f]actual allegations must be enough to raise a
12 right to relief above the speculative level.” 550 U.S. 544, 545 (2007). Arizona fails to
13   state a claim upon which relief may be granted, even if it had not failed to establish that
14   this Court may exercise subject-matter jurisdiction over its claims.
15                 1.     The IRS’s administrative position is not arbitrary and capricious.
16          Even if the IRS’s administrative position were reviewable under the APA, relief
17   would not be warranted because it is not arbitrary and capricious. Under the “arbitrary
18   and capricious” standard, a court may not set aside an agency decision that is rational,
19   based on consideration of the relevant factors, and within the scope of the authority
20   delegated to the agency. Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463
21   U.S. 29, 42 (1983). Although the court’s inquiry is thorough, this “standard of review is
22   highly deferential; the agency’s decision is entitled to a presumption of regularity and we
23   may not substitute our judgment for that of the agency.” San Luis & Delta-Mendota
24   Water Auth. V. Jewell, 747 F.3d 581, 601 (9th Cir. 2014). “Where the agency’s line-
25   drawing does not appear irrational and the [party challenging the agency action] has not
26   shown that the consequences of the line-drawing are in any respect dire … [courts] will
27   leave that line-drawing to the agency’s discretion.” J&G Sales Ltd. v. Truscott, 473 F.3d
28   1043, 1052 (9th Cir. 2007) (citation omitted). As discussed further below, the IRS’s

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 1   administrative position, that the Arizona payments do not qualify as refunds or for the
 2   general welfare or disaster relief exclusions, is based on the IRS’s rational and reasoned
 3   analysis and is not arbitrary or capricious.
 4                 2.     The payments Arizona made in 2023 are includable in income.
 5          Each year states make payments of various types. These payments could represent
 6 salaries, subsidies, payments for good and services, credits against future tax, and even
 7 refunds of prior taxes paid. And it is the IRS’s job each year to determine the proper
 8 federal tax treatment for each of these state payments when they are reported or omitted
 9 as income on a tax return. Under 26 U.S.C. § 61(a) gross income means all income from
10 whatever source derived, unless excluded by law. The term “income” “sweeps broadly”
11 and encompasses “any accession to wealth.” United States v. Burke, 504 U.S. 229, 233
12 (1992). The payments made by Arizona at issue here are income because in substance
13 they are not refunds of state tax paid and fall outside any income exclusion.
14                        a)      Arizona’s payments are not refunds of state taxes paid.
15          Generally, state tax refunds 5 are not includable in a taxpayer’s income because, as
16 the return of an overpayment of the taxpayer’s state tax liability, a refund is not an
17 accession to wealth. See Notice 2023-56, 2023-38 I.R.B 824; Rev. Rul. 70-86, 1970-1
18 C.B. 23. Yet a state’s characterization of a payment (e.g., refunds, overpayments, or
19 “rebates”) is not determinative for federal income tax purposes. Maines v. Comm’r, 144
20 T.C. 123, 132 No. 8 (2015). Rather, federal tax law looks to the substance of the
21 payments to determine the legal interests and relationships established under the state
22 law. Id. For example, when a state law authorizes payments to taxpayers that are limited
23 dollar-for-dollar to individuals’ previously paid state tax liabilities, the payments are
24
25   States and tax practitioners may use the term “rebate” in connection with state tax
     5

   refunds. Though the term “rebate” is used in the Code (e.g., 26 U.S.C. §§ 162(c)(3)
26 (denying deductions for any “kickback, rebate, or bribe” meeting certain criteria) &
   6664(a)(2) (defining underpayments for penalty purposes)), it is conceptually distinct
27 from how the term is used by Arizona here. To the extent the payments Arizona made are
   not refunds for federal income tax purposes, they are likewise not “rebates.” Put
28 differently, whether the payment is called a “rebate” or a refund is irrelevant to the
   analysis here.
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 1   treated as state tax refunds for federal income tax purposes because the purpose of the
 2   payment is to refund amounts previously paid. See Notice 2023-56, 2023-38 I.R.B 824;
 3   see also Sotiropoulos v. Comm’r, T.C. Memo 2017-75, 2017 WL 1628515, at *13 (“a
 4   ‘refund’ is commonly defined to include the return of money to a person who overpaid,
 5   such as a taxpayer who overestimated tax liability or whose employer withheld too much
 6   tax from earnings”).
 7          State law may also authorize credits to a taxpayer that are claimed on a tax return
 8   and reduce the current-year tax liability shown as due on the return. See Tax credits for
 9   individuals: What they mean and how they can help refunds | Internal Revenue Service
10   (irs.gov) [https://perma.cc/YD6S-XCAG]. Credits can be either refundable or non-
11   refundable. Id. A non-refundable tax credit only reduces tax liability and cannot result in
12   a payment to the taxpayer exceeding the return of the taxpayer’s own prepayment. Id.
13   Therefore, a non-refundable tax credit is not includable in income no matter how the
14   credit is calculated. A refundable tax credit, however, can result in the taxpayer receiving
15   more than the return of amounts previously paid. Id. Therefore, a refundable tax credit is
16   not income if the taxpayer uses it only to reduce a present year liability. But if a
17   refundable tax credit results in a payment over which the taxpayer has control, that
18   payment is income if it is not limited to prior tax paid and an exclusion does not apply.
19   Maines, 144 T.C. at 134 (distinguishing excess of QEZE Real Property Tax Credit from
20   EZ Wage and EZ Investment credits where former was tied dollar-for-dollar to
21   previously paid property tax while latter were not); Ginsburg v. United States, 922 F.3d
22   1320, 1325 (Fed. Cir. 2019) (finding excess over state tax credit to be income because
23   taxpayer had “complete dominion and control” over the excess).
24          Here, Arizona’s law did not generate a credit at all, which distinguishes the
25   payments from all three credits analyzed in Maines. Instead, Arizona directed that
26   taxpayers who previously claimed the dependent tax credit in 2021 were to receive a
27   payment in 2023 of up to $750 if they had a tax liability of at least $1 in 2019, 2020, or
28   2021. Arizona’s law did not create a new state tax credit to offset Arizonans’ current year

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 1   taxes. Arizona also did not create a refund of state taxes paid because it did not cap the
 2   amount of its payment at state taxes paid in 2019-2021. The tie to the prior years’ tax is
 3 tenuous at best requiring a nominal $1 in taxes paid over the three-year period.
 4 Accordingly, the payments are not credits or refunds and are included in income for
 5 federal income tax purposes. 6
 6          Arizona claims that the Tax Court’s decision in Maines dictates that its payments
 7 should not be taxable in full, but it misreads and overextends the decision. As noted
 8 above, Maines dealt exclusively with refundable tax credits that first had to be applied to
 9 current year liabilities. And what Maines found is “with refundable portions of tax
10   credits, taxpayers may receive cash payments in excess of their tax liability. We therefore
11   hold that this excess portion that remains after first reducing state-tax liability and that
12   may be refunded is an accession to the Maineses’ wealth, and must be included in their
13   federal gross income under section 61.” 144 T.C. at 135-36 (emphasis in original).
14          Arizona could have designed refundable tax credits to fit within the confines of
15   Maines, but it didn’t. Instead, it made one-time unrestricted payments in 2023 to
16   taxpayers who claimed a state tax credit on their 2021 tax return and had a state tax
17   liability of the nominal amount of $1 in 2019-2021. Complaint § 2. If Arizona wanted to
18   create a state tax credit to offset liabilities on a tax return and to ease the effects of
19 inflation for its taxpayers, it knew how to do it, having tied the payment at issue to an
20 existing state tax credit. Arizona also could have designed the payments to be limited to
21 previously paid tax so that they would be treated as refunds, but it didn’t do that either.
22 Instead, it sent its qualified taxpayers one-time payments in amounts not limited to
23 previously paid taxes, unlike the QEZE property tax credit addressed in Maines. Maines
24 thus does not support the proposition that payments like those made by Arizona must be
25
26
27
     6
      This outcome reflects what the Arizona Legislature understood when it passed the
28   Arizona Families Tax Rebate—that recipients of the payments might include the payment
     for federal tax purposes in income. ECF No. 18-1, Ex. 8 § 3(I).
                                               16
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 1 treated as refunds or credits that could be excluded from income. 7
 2                       b)     Arizona’s payments do not qualify for the general welfare
                         exclusion.
 3        Although § 61 provides for broad includability in gross income, for nearly 100
 4   years the IRS has allowed certain payments to individuals or families by governmental
 5   units under legislatively provided social benefit programs to be excluded from the
 6   recipient’s gross income under what it calls the general welfare exclusion. In determining
 7   whether the general welfare exclusion applies to payments, the IRS generally requires
 8   that the payments be: (1) made from a governmental fund; (2) for the promotion of the
 9   general welfare (i.e., based on individual or family need rather than to all residents
10   regardless of financial status, health, educational background, or employment status); and
11   (3) not for services that the recipient provides. See Rev. Rul. 2005-46, 2005-2 C.B 120;
12   Notice 2023-56.
13          Payments that are based on some criteria other than individual or family need
14   rarely qualify for the general welfare exclusion. In addition, the exclusion has generally
15   applied to payments for a specific welfare-oriented purpose such as food, medical care,
16   housing, personal property, transportation, funeral expenses, and disaster relief. The IRS
17   has further limited the general welfare exclusion to government programs that make
18   payments to low-income individuals or families. 8
19          The 2023 Arizona payments do not qualify for the general welfare exclusion for
20   two reasons. First, the income limitations for the payments are above what is generally
21   considered to be covered by the general welfare exclusion. Eligibility for the payments
22   begins to phase out at $400,000 for married taxpayers filing jointly and $200,000 for all
23
24
25   Even if Arizona’s payments were considered refunds, taxpayers would not necessarily
     7

   be able to exclude them from income. They would still have to apply the tax benefit rule
26 to the payments, as explained in Maines. 144 T.C. at 138-39.
   8
     See, e.g., Rev. Rul. 78-170, 1978-1 C.B. 24 (payments made by the State of Ohio to
27 lower-income, elderly individuals to reduce their cost of winter energy consumption);
   Rev. Rul. 76-395, 1976-2 C.B. 16 (home rehabilitation grants to low-income families to
28 correct substandard conditions); CCA 200908025 (payments to low-income households
   for the purchase and installation of energy efficient furnaces and boilers).
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 1   other filers. ECF No. 18-1, Ex. 12. Those amounts represent multiples of the median
 2   adjusted gross income for Arizona filers and encompass most Arizonans.
 3          Second, Arizona residents that had no tax liability in 2019-2021 were not eligible
 4 to receive a payment. As a result, residents with income below the Arizona standard
 5 deduction did not receive a payment. This group includes single residents with income
 6 below $12,550 and married couples with income below $25,000. Id. Thus, rather than
 7   targeting relief to low-income residents with dependents, the legislation expressly
 8   excludes such low-income residents from receiving the payments, while including almost
 9   all similarly situated Arizonans with higher incomes. Because the payments are not based
10   on need, they cannot qualify for the general welfare exclusion.
11          Arizona summarily alleges it relied on the IRS’s tax treatment for the 21 states that
12 issued payments in 2022, during the COVID-19 pandemic and federally declared
13 disaster. Complaint ¶ 80. But facts supporting this “reliance” claim are missing. There is
14 not one reference in the text of the law authorizing the payments to the IRS’s statement
15 on the 2022 payments, to the COVID-19 pandemic, or to the federally declared disaster.
16 ECF No. 18-1, Ex. 8. There is no discussion about whether Arizona modeled its program
17 after any of the 21 states that received its desired tax treatment in 2022. There is no
18 mention that Arizona expects these amounts to be excluded from federal income tax
19 based on the general welfare or disaster relief exclusions, and there is no statement that
20 the purpose of these payments was to be refunds of taxes paid. There is no allegation that
21 Arizona declared inflation a state-wide disaster. Instead, the text of the law refers
22 generally to inflation, a budget surplus, and the possibility that the payments will be
23 included in income for federal tax purposes. And it only requires a single dollar of tax
24 liability. Id. Arizona’s allegation of reliance now for purposes of this lawsuit is not
25 supported by sufficient factual allegations, nor can it be.
26          Even if Arizona could claim reliance, it would have been misplaced based on the
27 IRS’s explanation that its decision not to challenge various state programs in 2022 was
28 made in “the best interest of sound tax administration and given the fact that the

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 1   pandemic emergency declaration is ending in May, 2023 making this an issue only for
 2   the 2022 tax year.” Id., Ex. 1. (I.R. 2023-23). Arizona cannot allege reliance on the
 3   guidance and ignorance that the circumstances animating it would not hold for 2023.
 4   Arizona does not allege it did not know the relevant criteria for evaluating whether its
 5   payments could properly be excluded from income it just seeks a determination those
 6   criteria do not apply. No matter what the IRS determined for the 21 states in 2022,
 7   longstanding tax principles require that the payments Arizona made in 2023 be evaluated
 8   on their own. See Notice 2023-56. And because those payments were not based on the
 9   financial need of the individual or family receiving them, they cannot qualify for the
10   general welfare exclusion.
11                        c)      Arizona’s payments do not qualify as disaster relief.
12          Section 139(a) provides that gross income does not include any amount received
13   by an individual as a qualified disaster relief payment. 26 U.S.C. § 139(a). Section
14   139(b)(4) defines a qualified disaster relief payment to include, among other things, any
15   amount paid to or benefiting an individual if such amount is paid by a federal, state, or
16   local government, or agency or instrumentality, in connection with a qualified disaster to
17   promote the general welfare. 26 U.S.C. § 139(b)(4). Under § 139(c)(2), a qualified
18   disaster includes a federally declared disaster as “defined by section 165(i)(5)(A)” of the
19   Code. 26 U.S.C. § 139(c)(2). Section 165(i)(5)(A) defines a federally declared disaster as
20   “any disaster subsequently determined by the President of the United States to warrant
21   assistance by the Federal Government under the Robert T. Stafford Disaster Relief and
22   Emergency Assistance Act.” 26 U.S.C. § 165(i)(5)(A).
23          The remaining criteria for disaster relief payments under § 139(b)(4) are that the
24   payments be made “in connection with” the disaster and that they are made to “promote
25   the general welfare.” 26 U.S.C. § 139(b)(4). In the context of a qualified disaster, such as
26   the COVID-19 pandemic, the financial need prong of the general welfare requirement is
27   presumed for all individuals affected by the disaster, and general welfare assistance is
28   allowed for all such individuals. See Notice 2002-76, 2002-2 C.B. 917.

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 1          The state legislature approved the 2023 Arizona payments the same day the
 2 COVID-19 pandemic, a “federally declared disaster” as defined by § 139(c)(2),
 3 terminated, and payments were not made until many months later. Moreover, the
 4 expressed purpose of the payments was to “mitigate the harmful impacts of inflation.”
 5 ECF No. 18-1, Ex. 8 § 3(L)(2). The law makes no mention of the federally declared
 6 disaster related to the COVID-19 pandemic or any other potentially qualifying event.
 7 Plus, it would be nonsensical for a state to exclude its poorest citizens from eligibility for
 8 payments tied to disaster relief, as Arizona did here. Because the payments were not
 9 made in connection with a declared disaster when the payments were made, they cannot
10 qualify for the disaster relief exclusion. And as with the general welfare exclusion,
11 Arizona’s reliance claim lacks merit.
12                                     IV.    CONCLUSION
13          Arizona’s complaint should be dismissed with prejudice under Rules 12(b)(1) and
14 (6) of the Federal Rules of Civil Procedure because it lacks standing, cannot identify a
15 waiver of the United States’ sovereign immunity, the AIA and DJA bar it, and the
16 payments are properly includable in income.
17          DATED this 29th of April, 2024
                                                       DAVID A. HUBBERT
18                                                     Deputy Assistant Attorney General
19                                                     /s/ Amy Matchison
                                                       AMY MATCHISON
20                                                     Trial Attorney, Tax Division
                                                       U.S. Department of Justice
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